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and the Proposed Class

                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,
                                                    Case No. 3:23-cv-03417-VC
        Individual and Representative Plaintiffs,
                                                    DECLARATION OF MAXWELL V.
   v.                                               PRITT IN SUPPORT OF PLAINTIFFS’
                                                    OBJECTIONS TO META’S REPLY
META PLATFORMS, INC.,                               EVIDENCE

                                      Defendant.




                                                             DECLARATION OF MAXWELL V. PRITT
                                                                       CASE NO. 3:23-cv-03417-VC
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       I, Maxwell V. Pritt, declare as follows:

       I am an attorney duly licensed to practice in the State of California. I am a partner in the

San Francisco, California office of Boies Schiller Flexner, LLP (“BSF”), counsel for Plaintiﬀs in

the above-captioned action. I have personal knowledge of the matters stated herein and if called

upon, I can competently testify thereto. I make this declaration pursuant to 28 U.S.C. Section 1746

in support of Plaintiffs’ Objections to Meta’s Reply Evidence.

       1.      Attached as Exhibit A is a true and correct copy of excerpts of the transcript of the
deposition of Melanie Kambadur, which took place on September 17, 2024.

       2.      Attached as Exhibit B is a true and correct copy of excerpts of the transcript of the

deposition of Joelle Pineau, which took place on November 6, 2024.

       I declare under penalty of perjury that the foregoing is true and correct. Executed this 24th
day of April 2025 in San Francisco, California.



                                                  By:                    /s/ Maxwell V. Pritt
                                                                         Maxwell V. Pritt




                                                            DECLARATION OF MAXWELL V. PRITT
                                                                      CASE NO. 3:23-cv-03417-VC
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